           Case 1:15-vv-01185-UNJ Document 68 Filed 09/22/17 Page 1 of 2




        In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                          No. 15-1185V
                                      Filed: March 2, 2017
                                         UNPUBLISHED
*********************************
RONNY DEAN LINEBARGER,                            *
                                                  *
                         Petitioner,              *
                v.                                *
                                                  *        Attorneys’ Fees and Costs;
SECRETARY OF HEALTH                               *        Special Processing Unit (“SPU”)
AND HUMAN SERVICES,                               *
                                                  *
                         Respondent.              *
                                                  *
****************************
Randall Turner, Bailey & Galyen, Fort Worth, TX, for petitioner.
Danielle Sgro, U.S. Department of Justice, Washington, DC, for respondent.

                      DECISION ON ATTORNEYS’ FEES AND COSTS1

Dorsey, Chief Special Master:

       On October 13, 2015, petitioner filed a petition for compensation under the
National Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the
“Vaccine Act”). Petitioner alleged that he developed injuries, including Parsonage-
Turner syndrome/brachial neuritis after receiving the trivalent influenza vaccine on
October 17, 2012. Petition at 1. On December 21, 2016, the undersigned issued a
decision awarding compensation to petitioner based on the parties’ stipulation. ECF
No. 56.




1 Because this unpublished decision contains a reasoned explanation for the action in this case, the
undersigned intends to post it on the United States Court of Federal Claims' website, in accordance with
the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal Management and Promotion of
Electronic Government Services). In accordance with Vaccine Rule 18(b), petitioner has 14 days to
identify and move to redact medical or other information, the disclosure of which would constitute an
unwarranted invasion of privacy. If, upon review, the undersigned agrees that the identified material fits
within this definition, the undersigned will redact such material from public access.

2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2012).
           Case 1:15-vv-01185-UNJ Document 68 Filed 09/22/17 Page 2 of 2



       On March 2, 2017, petitioner filed an unopposed motion3 for attorneys’ fees and
costs. (ECF No. 62). Petitioner indicates he is voluntarily reducing the amount of
attorneys’ fee by $10.00 and is waiving $500.00 in expert costs. Id. at 1. Petitioner
requests attorneys’ fees in the amount of $14,000.00 and attorneys’ costs in the amount
of $709.14 for a total amount of $14,709.14. Id. at ¶ 1; Attachment 1 to Pet. Motion at
6. In accordance with General Order #9, petitioner’s counsel represents that petitioner
personally incurred no-out-of-pocket expenses. Pet. Motion at 1.

       The Vaccine Act permits an award of reasonable attorneys’ fees and costs.
§ 15(e). Based on the reasonableness of petitioner’s request and the lack of opposition
from respondent, the undersigned GRANTS petitioner’s application for attorneys’ fees
and costs.

      Accordingly, the undersigned awards the total of $14,709.144 as a lump
sum in the form of a check jointly payable to petitioner and petitioner’s counsel
Randall Turner.

        The clerk of the court shall enter judgment in accordance herewith.5

IT IS SO ORDERED.


                                                           s/Nora Beth Dorsey
                                                           Nora Beth Dorsey
                                                           Chief Special Master




3 The motion was filed as an unopposed motion and specifically states that respondent has no objection
to the overall amount sought. Petitioner’s Unopposed Motion for Attorneys’ Fees and Costs (“Pet.
Motion”) at 2.
4This amount is intended to cover all legal expenses incurred in this matter. This award encompasses all
charges by the attorney against a client, “advanced costs” as well as fees for legal services rendered.
Furthermore, § 15(e)(3) prevents an attorney from charging or collecting fees (including costs) that would
be in addition to the amount awarded herein. See generally Beck v. Sec’y of Health & Human Servs.,
924 F.2d 1029 (Fed. Cir.1991).

5 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
